410 F.2d 12
    Julius E. FOSTER, Appellee,v.MAGNETIC HEATING CORPORATION, Thermatool Corporation, David G. Osterer, Herman C. Morris, American Machine &amp; Foundry Company, Appellants.
    Nos. 357-361.
    Dockets 32969-32973.
    United States Court of Appeals Second Circuit.
    Argued March 11, 1969.
    Decided March 20, 1969.
    
      William K. Kerr, New York City (Charles H. Walker, Herbert F. Schwartz, New York City, on the brief), for appellants.
      Robert H. Rines, Boston, Mass. (Alexander Kahan, New York City, on the brief), for appellee.
      Before MOORE, KAUFMAN and FEINBERG, Circuit Judges.
      PER CURIAM:
    
    
      1
      This is an appeal from an interlocutory judgment of the United States District Court for the Southern District of New York, Edmund L. Palmieri, J., holding certain claims of Patent No. 2,882,384, issued to plaintiff Julius E. Foster, valid and infringed by American Machine &amp; Foundry Company and other named defendants. On appeal, defendants do not contest the validity and enforceability of the patent and raise only the issue whether they infringed. We have considered the briefs and arguments in this court and see no basis for disturbing Judge Palmieri's findings of fact and conclusions of law relating to infringement. On that issue, we affirm on the basis of his careful opinion. 297 F.Supp. 512.
    
    
      2
      Judgment affirmed.
    
    